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                                EXHIBIT C
                    Messenger Elementary School Testing
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DISTBICT/AREA                          TEST   STANFORD ACHIEVEI'IENT                     TEST           GRADE           LEVEL                   FIFTH                                                  FALL
       PROVO                                                                                            LEVEL           INTERMEDIATE                                                       1

                                                                                                        FoRM J
scHool              CANYON CRESTELEI'!                    ll L1'4 UTAH                                  DArE oF rEsrrNG                                     10/92
STUDENT/REPoRT      MESSENGER, BRYAN                                            PUBLIC
r.D.                2873474                                                     scHooLs
                                                        THE STUDENT'S TEST SCORE WITHIN THE BAND IS A COMPARISON
                                  U                                 WITH STUDENTS TESTED NATIONALLY.
                             U    E
                             E    o           F
                             o    o           z    U
                             o    @   U
                                            UJu    J       4                11      23          40                 60                  77                           83                       96                                  NO.
      SUB TESTS              o    o   o                    rrrltlll
                                      z     o<     F                                                                                                                                                                            TESTED
                             3    U
                                  J                s                                                                                                                                  I

                             E    o
                                            E_
                                            ol     J
                                                   F
                                                                   ,                       4              5                  6                        7                           8                           I
                                  o            d
                                              U
                                                   z            \/EO   A   AE                       AVERAGE I                                         ABOVE AVERAGE
READING VOCABULARY           l(       z            Lt                      _F                                      I                                                                                                             988
READ COXPREHENSION           1t ,6:   T'                    I               I
                                                                                                                                                                                                                                 988
  TOTAL READING              32157 t I!                     t--:(-J                                                I                                                                                                             981
                                                                                                                                            r:j::.:.:. .:.::::.:.i:. :rii::i:::
CONCEPT OF NU},IBERS         2ffi51   6:           7:                       I                       I              I
                                                                                                                        __)iJ '-
                                                                                                                        --       -f,ii::::::::::: :::r':::I::::: :1.:::::::::::::::l                                             987
                                                                                                          __ til--
MATH COXPUTATION             2t i2    5:           5(       I               I                                                                   ::::iliii t:;iiij,iiiilt,:,,,:l                                                  981
MATH APPLICATIONS            3i tlz   l{           E:       I                                                      I                                                                                                             989
  TOTAL HATH                 8! i4t   6:           7a
                                                                                                                        *-r=+                                                                                                    986
LANGUAGE HECHANICS           2{]6L(   4:           3(       I                              --TF-                                                                                              t                                  98s
LANGUAGE EXPRESSIOI          L( t0(   4t           3l                                                                                                                                                                            985
  TOTAL    LANGUAGE          36161    4{           3t                                    --?;..+-                  i                                                                      i::'!,,,,,,,:,.,.,.,.,.,i              984
SPELLING                     1: ,9:   32           I!                                               I                                                                                                                            985
STUDY SKILLS                 2( t2t   4',          4:                                          -rl-:!--            I
                                                                                                                                                                                                                                 985
LISTENING            3i i5t 6I                     E:       I                                       I
                                                                                                                                            r+:itiir+.+::::               ::::::   :... :: ::l     :r': : :i.:    : : ::::: :
                                                                                                                                                                                                                                 986
 BAS. TOTAL BATTER) ,t{ t1: 4:                     3(                                                                                                                                                                            976
SCIENCE                      2( r8t   31           1{      I                I --"                   I                                                                                                                            981
SOCIAL SCIENCE               I( r6t 2(             I:                                                                                                                                                                            986
USING INFORUATION            2ffi3 5               5;      I                                            --    X
                                                                                                                  -1-                   I
                                                                                                                                            ::::::::i..::..i::: :.:|.::j,i::,:::,::i:::::.::::i:.iir:::r:.:::::::
                                                                                                                                                                                                                                 916
THINKING SKILLS              3; t2t 5i             5t                                                              I                                                                                                             976
                                                                                                                                                                                                                                   ABOVE
CONCEPTS                                                         CONCEPTS                                                                                                                                  l":i?
READING VOCABULARY                                                              PUNCTUATION
  SYNONYMS                                                                      APPLIED        GRAMUAR
 VOCABULARY IN CONTEXT                                                      LANGUAGE EXPRESSION
 HULTIPLE UEANINGS                                                              SENTENCE CORRECTNESS                                                                                                       F::'r
                                                                                                                                                                                                                         t
READ COMPREHENSION                                                              SENTENCE EFFECTIVENESS
 RECREATIONAL READING                                                       SPELLING                                                                                                                       Pr:r::
 TEXTUAL READING                                                            STUDY SKILLS
 FUNCTIONAL READING                                                          LIBRARY/REFERENCE SKILLS
 LITERAL COHPREHENSION                                                       INFORUATION SKILLS
 INFERENTIAL COMPREHENSION                                                   THINKING SKILLS
 CRITICAL COUPREHENSION                                                     LISTENING
 THINKING SKILLS                                                                VOCABULARY
CONCEPT OF NUMBERS                                                              LISTENING COUPREHENSION
 WHOLE NUMBERS                                                                  THINKING SKILLS
 FRACTIONS                                                                  SCIENCE
 DECII-TALS                                                                     PHYSICAL SCIENCE
 OPERATIONS AND PROPERTIES                                                      BIOLOGICAL SCIENCE                                                                                                         l"
  THINKING SKILLS                                                               EARTH/SPACE SCIENCE
ilATHEUATICS COMPUTATION                                                        SCIENCE PROCESS SKILLS
  ADD & SUB WITH WHOLE NUMBERS                                                  INQUIRY SKILLS/USING INFO.                                                                                                 rrTr
  HULTIPLY WITH WHOLE NU}IBERS                                                  THINKING SKILLS
  DIVISION WITH WHOLE NUHBERS                                               SOCIAL SCIENCE
  ADD & SUB. WITH DECI}IALS                                                     GEOGRAPHY
  ADD & SUB. FRACTIONS                                                          HISTORY
HATHEUATICS APPLICATIONS                                                        POLITICAL SCIENCE
 PROBLEX SOLVING                                                                ECONOMICS
 GRAPHS AND CHARTS                                                              PSYC /SOCIO/ANTHRO
 GEOME TR Y / MEAS UR E},18N T                                                  INOUIRY SKILLS/USING INFO.
 THINKING SKILLS                                                                THINKING SKILLS
LANGUAGE UECHANICS
 CAPITALIZATION
